Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 1 of 12

Exhibit 155
CONFIDENTIAL

Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 2 of 12

Fredrickson, David R._ i cov

| Gov). Seaman, Michael P.
fearn, Bret GOV), Seidel, Heathe GOV], Goldsholle,

.GOV]; Maitra, Neco a SOV Bergoffen, Roni

GOV]; Orr, i GOV]

reiner, Natasha (Vij)

Sent: 2018-06-06T21:36:38-04:00

Importance: Normal

Subject: RE: Ether speech

Received: 2018-06-06T21:36:39-04:00

DRAFT Digital Assets Speech 2018-06-04 (TM comments .docx

: Szezepanik,

  
   
 
 
 
  

   
   
    
    
 

  

.GOV]

 
  

ALL,

Attached are TM's com nents on Bill's drat speech. Please let us know if you have any questions of

Thanks,
Natasha:

From: Seidel, Heather
Sent: Monday, June 04, 2018 11:21 AM
To: Greiner, Natasha (Vij); Maitra, Neelanjan
Subject: Fwd: Ether speech

Sent from my iPhone
Begin forwarded message:

 

From: "Hinman, William” <
Date: June 4, 2018 at 11:10:36 AM EDT
To: "Moskowitz, Lucas" <i. Gov>, "Memon, Sean"
Raquel" 30V>, "Redfearn, Brett"
< GOV>, "Avakian, Stephanie" «
GOV>, "Karp, David S."
GE «G2 >, “Jarsulic, Laura"

   
 
  
 
     

GOV>, "Fox,
GOV>, "Blass, Dalia"
GOV>, “Peikin, Steven"
GOV», "Stebbins, Robert”

GOV>, "Morris, Daniel (Bryant)"
GOV>, "Bartels, David P.”

  
  
  
 
 
  

2

 
  

<

      
 
   

EEE 60>, “Seaman, Michac! P." <i cov>

Subject: Ether speech

Attached please find a draft of the speech | had mentioned, which suggests that we do
not need to see a need to regulate Ether, as if is currently offered, as a security. That
language is in brackets and would be used if we all are in agreement. We also have a
call with Buterin later this week to confirm our understanding of how the Ethereum
Foundation operates.

Please feel free to share any comments with me and the folks in the cc line.

SEC-LIT-EMAILS-000471 124
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 3 of 12

Thanks
Bill

 

William Hinman
Director of the Division of Corperation Finance
U.S. Securities and Exchange Commission

CONFIDENTIAL SEC-LIT-EMAILS-000471 125
Case 1:20-cv-10832-AT-SN

Non-Public Draft
Tht Comments on drafi of June 4, 2018

a

 

  

There has been considerable discussion recently in the press and at legal conferences

regarding whether a digital asset offered as a

 

can over time become something other
than a security. I think framing the question that way might miss an important point, which I

hope to make with my remarks here today.

To start, I think a better line of inquiry is: “Can a digital asset or token that was originally
offered in a securities offering ever be sold in a manner that does not constitute a securities
offering?” In cases where the digital asset or token represents a set of rights that give the holder
a financial interest in an enterprise the answer is likely no. In these cases, calling the transaction

an initial coin offering, or “ICO,” won’t take it out of the purview of the U.S. securities laws.

But what of those cases where there is no central enterprise being invested in and where
the digital asset or token is sold only to be used to purchase a good or service available through
the network on which it was created? I believe in these cases the answer is a qualified “yes,” and
Id like to share my thinking with you today about the circumstances under which that could

occur.

First, I would like to start with a little background on the new world of digital assets.
Most of you are no doubt quite familiar with Biteoin and know of blockchain — or distributed
ledger — technology. As I have come to learn, what may be most exciting about this technology
is the ability to share information, transfer value, and record transactions in a decentralized
digital environment. What does that mean? Payment systems, supply chain management,

intellectual property rights licensing, stock ownership transfers and countless other potential

CONFIDENTIAL

: AS a general overall comment, this speech is what the gener

: title/intro and initial questions within the introductory paragraph
: focus on the “what is a security” discussion rather than the issue
|: morohing.:

Document 830-49 Filed 06/13/23 Page 4 of 12

 

   
  
   
 
 

public/mar<et particioants tave been asking for, so we are very!
supportive of the speech and what it ts commun cat ng.

The general sentiment of the speech 1s focused on the “what is a
security” discussion, Query whether we should reframe the

 

As written, we would like to add a disclaimer that the remarks
primarily pertain to the Securities Act, as there are significant
Exchange Act impitcatiors (especially to the extent that a digital
asset fs a security) that are rot discussed. We walli draft something
and send it along.

   

 

mmented [A2]: Consider adding a FN noting the following: -

 

Sect on 2(a)(1) of the 1933 Act [15 U.SC.§ 77b(a}(1)] and Section
S{a):10) of the 1934 Act [15 U.S.C, § 78c(a}(10)} define “security.”
Sect on 2(a}(1) of the 1933 Act and Sectioa 3(a)(20) of tne 2934 Act:
contain “stightly different formulations” of the terms “securtty,” but
which therU.S, Supreme Court has “treated as essential y icentical
in meaning,” Reves v. Ernst & Young, 494U.S. 56 at 61, n. 1.

   
 
 

 

SEC-LIT-EMAILS-00047 1126
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 5 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

applications can be conducted electronically, with a public, immutable record without the need
for a trusted third party to verity transactions. Using these new networks, one can create digital
information packets that can be transferred using encryption keys. These packets are sometimes
called coins or tokens, and can be obtained through mining, distribution, sale or exchange by
users in the network Some people believe these new systems will forever transform e-
commerce as we know it. There is excitement around this new technology. There is also a great

deal of “irrational exuberance” and, unfortunately, many cases of fraud.

But that is not what I want to focus on today. I am here to talk about how these digital
tokens and coins are being issued, distributed and sold. In order to raise money to develop these
new systems, promoters! often sell the tokens themselves, rather than sell shares, issue notes or
obtain bank financing. We have seen public distributions on the internet and private placements
to sophisticated investors. But, in many cases, the economic substance is the same: funds are
raised with the expectation that the promoters will build their system and investors can earn a
return on the instrument — usually by selling their tokens in the secondary market as the value of

the digital enterprise increases once the promoters create something of value with the proceeds.

When we see that kind of economic transaction, it is easy to apply the Supreme Court’s

“investment contract” test first announced in SEC v. Howey As you will remember, the test Commented [A3]: Consider noting that while Howey Is often
usec to determine whether a digital asset isa security, there are
. . . . . . . also other appaicaole tests/legal standards that could apply in this
requires an investment of money in a common enterprise with an expectation of profit derived context (depending on the facts and circu

  
   
 

   

from the efforts of others. And it is important to reflect on the facts of Howey. A Florida hotel

'T am using the term “promoters” in a broad, generic sense. The important factor in the legal analysis is that there is
a person or coordinated group that is working actively to develop the infrastructure of the network. This person or
group may be, variously, founders, sponsors, developers, or “promoters” in the traditional sense. The presence of
promoters in this context is important to distinguish from the circumstance where multiple, independent actors work
on the network but no individual actor’s or coordinated group of actors’ efforts are essential.

2 SEC v. W.J. Howey Co, 328 U.S. 293 (1946).

CONFIDENTIAL SEC-LIT-EMAILS-00047 1127
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 6 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

operator sold interests in a citrus grove to its largely out-of-state guests. The transaction was
recorded as a real estate sale, together with a service contract. In theory, purchasers could
arrange to service the grove themselves, but few pursued that option. In fact, the purchasers
were passive, relying largely on the Howey Service Company’s efforts tending the assets for a
return. And in articulating the test for an investment contract, the Supreme Court stressed:
“Form [is] disregarded for substance and the emphasis [is] placed on economic realities.”* So

the purported real estate purchase was found to be an investment contract, and hence a security.

In the ICOs we have seen, overwhelmingly, promoters tout their ability to create some
innovative application of blockchain technology. The investors are passive. Marketing efforts
are rarely targeted to potential users of the application. And the viability of the application is
still uncertain. At that stage, the purchase of a token looks a lot like a bet on the success of the
enterprise and not the purchase of something that may someday be used to exchange for goods or

services on the network.

As an aside, you might ask, given that these token sales often look like securities
offerings, why are the promoters choosing to package the investment as an ICO or token
offering? This is an especially good question ifthe network on which the token or coin will
function is not yet operational. I think there can be a number of reasons. For a while, it was
believed such labeling might, by itself, remove the transaction from the securities laws. I think
people now realize labeling an investment opportunity as a coin or token, does not achieve that
result. Second, this labelling might be hoped to bring some marketing “sizzle” to the enterprise.

That might still work to some extent, but the track record of ICOs is still being sorted out and

3 Td. at 298.

CONFIDENTIAL SEC-LIT-EMAILS-00047 1128
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 7 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

some of the sizzle may now be more of a potential warning flare for investors. Some may be
attracted to crowdfund through a blockchain mediated process. Digital assets can represent a
relatively frictionless way to reach a global audience in order to seed a network where initial
purchasers have — stake in the success of the network and become part of its early adopting
participants who add value beyond their investment contributions. Related to this, some believe
that once the token or coin is operational, it will cease to be a security and secondary liquidity
may be easier to achieve. While I recognize that possibility, as I will discuss, the ability to
transact in a coin or token on the secondary market requires a caretul and fact-sensitive legal

analysis.

I believe some industry participants are beginning to realize that, in some circumstances,
it might be easier to start a blockchain-based enterprise in a more conventional way. In other
words, do the initial funding through a conventional equity or debt offering and once the network
is up and running, distribute or offer blockchain based tokens or coins to participants who need
the functionality the network and the digital assets offer. This allows the tokens or coins to be
structured and offered in a way where it is evident purchasers are not making an investment in

the development of the enterprise.

Returning to the ICOs we are seeing, strictly speaking, the token — or coin or whatever
the digital information packet is called — all by itselfis not a security, just as the orange groves in
Howey were not. Central to determining whether a security is being sold is how it is being sold.
For example, when a certificate of deposit is sold by a federally regulated bank, the CD is nota

security.! When a CD is sold as a part of a program organized by a broker who offers retail

4 Marinc Bank v. Weaver, 455 U.S. 551 (1982).

CONFIDENTIAL SEC-LIT-EMAILS-00047 1129
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 8 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

investors promises of liquidity and ability to profit from changes in interest rates, the CD is part
of an investment contract that is a security. Similarly, when someone buys a housing unit to
livein even when represented by an instrument called “stock” it is probably not a security.°
When the housing unit is otfered with a management contract or other services as an investment,

it can be a security.’

And so with digital assets. The digital asset itself is simply code. But the way it is sold —
as part of an investment; to non-users; by promoters to develop their idea — can be, and, in that
context, most often is, a security — because it evidences an investment contract. And regulating
these transactions as securities transactions makes sense. The impetus of the Securities Act is to
remove the information asymmetry between promoters and investors. In a public distribution,
the Securities Act prescribes the information investors need in order to make an informed
decision, and the promoter is liable for material misstatements in the offering materials. These
are important safeguards, and they are appropriate for most ICOs. The disclosure marries nicely
with the Howey investment contract element about the efforts of others. As an investor, the
success of the enterprise — and the ability to realize a profit on the investment — turns on the
efforts of the third party. The investor is relying on the third party. So learning material
information about the third party —its background, financing, plans, financial stake, and so forth
—is a prerequisite to making an informed investment decision. Unless the third party is
compelled by the securities law to disclose what it alone knows of these topics and the risks

associated with the venture, investors will be uninformed and are at risk.

5 Gary Plastics Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 756 F.2d 230 (2d Cir. 1985).

® United Housing Found., Inc. v. Forman, 421 U.S. 837 (1975).

7 Guidelines as to the Applicability of the Federal Securities Laws to Offers and Sales of Condominiums or Units in
a Real Estate Development, SEC Rel. No. 33-5347 (Jan. 4, 1973).

CONFIDENTIAL SEC-LIT-EMAILS-000471 130
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 9 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

But this also points the way to when a digital asset may no longer represent a security.
When the efforts of the third party are no longer a key determining factor for the enterprise’s
success, material information asymmetries recede. Moreover, as a network becomes truly
decentralized, the ability to identify an issuer to make the disclosure becomes difficult, and

perhaps meaningless.

And so, when we look at Bitcoin, we do not see a third party whose efforts are a key
determining factor in the enterprise. The value of Bitcoin turns on the efforts of decentralized
miners and independent market participants’ assessments of an open-source payment

mechanism. Applying the disclosure provisions of the securities laws in this situation would

   

 

 

      
  
   
 
 

 

‘Commented [A4]; See coniimérit below regarding “not
warranted.” Aithough we do not want to suggest that BTC i
: security, taking too strong a position on the lack of any benefits
subject to confirmation of our understanding of the Ethereum network in discussions with from the disclosure provsions of the federal securities laws
(presumably'S3 Act) mignt te a wedge that could undermine SEt
efforts towards other cryptc-assets where the asset is 2 security
© and applyirg the 34 Act principles of fair and orderly markets woul
i eat valu

seem to add value. [Note to Draft: We expect to use the following bracketed language

representatives of Ethereum Foundation.] [Likewise, based. nderstanding of

 
    

 

    
   

present state of Et etwork, regulating Eth

 

fas a securily docs not seem

 

 

   

‘Commented [AS]:

   

em as a security f And of course there continue to be

 

we discussed, as written, we have concerns regarding the
sentiment within this sectton of the speech. We think the relevant:
systems that rely on central actors whose efforts are key to the success of the enterprise. In those cuestion, as discussed throughout the rest of the speech, 1s
whether a digital asset meets the legal standards ef. a security, n
. . . . . whether it warrants regulation as a security,
cases, application of the securities laws can protect the investors who purchase the coins. There concern due to the Exchange Act implications

 

 

  
    
    

   

will be disclosure requirements and SEC-supervised trading by regulated entities.

As | have tried to point out, the analysis is not static and the nature of a security does not would provide less, not more, clarify to the industry on thi

: of whether ether s a security.
. . 87: . .
inhere to the instrument.” Like CDs — which when issued by a federally regulated bank are not PEA Caga/ee uid CHaitinatne GAICRIWALIC TE ALES blanket”
statement that Etreris not a security (barring any changes of
thought based on the meeting late: this week. with Buterin (or his
i i internally and with

  
 
   

   

 
 
 
      

® The Supreme Court’s investment contract test “embodies a flexible rather than a static principle, one that is capable
of adaptation to meet the countless and variable schemes devised by those who seek the use of the money of others

: . AG]: Not i tec. Also,
on the promise of profits.” Howey, at299, a mented [AG]: Not sure what is meant by mediatec. Also,

“SEC-supervised” is psobably too strong, asewe don’t usuaily refe
“supervision.” SEG-regulated would be bette:

 

CONFIDENTIAL SEC-LIT-EMAILS-000471131
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 10 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

securities but when repackaged as part of an investment strategy can be securities even digital
assets with utility in an existing eco-system could be packaged and sold as an investment
strategy that can be a security. A promoter could place Bitcoin in a fund or trust and sell
interests, creating a new security. Similarly, investment contracts can be made out of virtually
any asset (including virtual assets), provided the investor is reasonably expecting profits from the

promoter’s efforts.

Let me emphasize an earlier point: simply labeling a digital asset a “utility token” does
not turn the asset into something that is not a security.? True, the Supreme Court has
acknowledged that if someone is purchasing an asset for consumption only, it is likely not a

security.'° But the economic substance of the transaction determines the legal analysis, not the

 

 

labels.!! The oranges in Howey had utility. Orin my favorite example, the Commission warned

 

in the late 1960s about investment contracts sold in the form of whisky warehouse receipts.!”
Promoters sold the receipts to US investors to finance the aging and blending processes of
Scotch whisky. The whisky was real — and, for some, had exquisite utility. But Howey was not
selling oranges and the warehouse receipts promoters were not selling whisky for consumption.

They were selling investments, and the purchasers were expecting a return.

We expect issuers and market participants will want to understand whether transactions
in a particular digital asset involve the sale ofa security. We are not trying to play “regulatory

gotcha.” We are happy to help promoters and their counsel work through these issues. We stand

° “(T]he name given to an instrument is not dispositive.” Forman, at 850.

10 Forman, at 853.
1 See above
2 SEC Rel. No. 33-5018 (Nov. 4, 1969); Investment in Interests in Whisky, SEC Rel. No. 33-5451 (Jan 7, 1974).

CONFIDENTIAL SEC-LIT-EMAILS-000471 132
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 11 of 12

Non-Public Draft
Tht Comments on drafi of June 4, 2018

prepared to provide more formal interpretive or no action guidance to market participants about

the proper characterization of a digital asset in a proposed use.

What are some of the factors we would look to? Whether a digital asset is offered as an

investment contract and is thus a security will always depend on the particular facts and

circumstances, and it

CONFIDENTIAL

to

 

As illustrative, not exhaustive:

Is there a person or organized group that has sponsored or promoted the creation and sale

of the digital assets, the efforts of which play a significant role in the development and

maintenance of the asset and its potential increase in value?

 
   
 

  

increase in value in the dig

 

Would purchasers reasonably believe such efforts will be undertaken and may result ina
return on their investment in the digital asset? Does the promoter continue to expend

funds from proceeds or operations to enhance the functionality and/or value of the system

 

within which the token operate? Has the promoter raised
seems reasonably related to the costs of creating the network?. _

Is the instrument marketed and sold to potential users of the network for a price that

 

reasonably correlaté§with the market value of the good or service in the network?

ication of «:

   

Does app! Securities Act protections make se Is there a person or entity
others are relying on that plays a key role in the profit-making of the enterprise such that
disclosure of their activities and plans would be helpful to investors’? Do informational
asymmetries exist between the promoters and potential purchaser/investors in the digital

asset?

 
 

| these factors more closesy aad explicitly to the Howey analysis. It

Commented [A8]: As a genera! comment, please consider tyin

 

may also be worth reiteratirg here that stancarcs and tests other
than Howey may also be applicable.

 

 

 

: amounts raised and earmarked:for marketing or reserves?

: Commented [A11]: why is this
: it be applied?

Commented |
be anol adi?

 

 

Commented [A10]: This seems ambiguous. What asout

   

Commented [A12]: ‘What woud constitute “reasonabl
correlation’ for the purposes of this test?

mmented [A13]: Although tais statement highlights the
required disclesure framework within the Securities Act, we have
some concera that this ignores'the existence of the Excnange Act i
and the protections taerein. (Although the introductory disclaimer i

: that the speech is primartly focused or the regulatory framework

mithin the Securit’es Act may forth s issue.).,

  

SEC-LIT-EMAILS-000471 133
Case 1:20-cv-10832-AT-SN Document 830-49 Filed 06/13/23 Page 12 of 12

Non-Public Draft
| Tht Comments on drafi of June 4, 2018

In the meantime, are there contractual or technical ways to structure digital assets so they are less
likely to act like a security? I believe so. Again, these are certainly not “get out of jail free”
cards, and we would look to the economic substance of the transaction, but promoters and their
counsels should consider these, and other, possible features. This list is not intended to be
exhaustive and by no means do I believe each and every one of these factors needs to be present

to establish a case that a token is not being offered as a security.

  

 

  
 
  

 

       
 

    

 

 

   

 

 

   
 
 

 

 

   
   

   
  

 

1 needs of users 0
Commented [A14]: Thisis ambiguously worded and it
clear why tis is relevant.

2 fimented [A15]: Unclear what this intends to

hoarded

3

4. Bavecpurchasers: made: representations as-to their consumptive: assopposed tothetr Commented [A17]: Does'this'6 fo the expectation of profits
part of H@Wey? Wha: if ourchasers can have either a consumptive
of an Investment ntent? And ho
into the issuer/seller’s intent?

5

‘FCommented [A18]: The concept of promoting tne idea of :

secondary market has been a key factor in our analysis. We suggest
moving this conce ot i: he ou keep tw

6 ‘separate list S fu fe a

7 Is the asset marketed and distributed to potential users or the general public? __ Commented [A19]: General comment —as written, it mayn

be apparent to the reader which characteristic or factor weigt
: against it being a security or not.

 

 

These are exciting legal times and I am pleased to be part of a process that can help

promoters of this new technology and their counsel navigate and comply with the federal

securities laws.

CONFIDENTIAL SEC-LIT-EMAILS-000471 134
